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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT OWENSBORO
                            CIVIL ACTION NO. 4:21CV-P114-JHM

ISAIAH TYLER                                                                           PLAINTIFF

v.

CITY OF HENDERSON, KY et al.                                                         DEFENDANTS

                                               ORDER

         For the reasons set forth in the Memorandum Opinion entered this date and the Court being

otherwise sufficiently advised,

         IT IS ORDERED that the complaint is DISMISSED pursuant to 28 U.S.C.

§ 1915A(b)(1), (2) because the complaint fails to state a claim upon which relief may be granted

and seeks relief from a defendant who is immune from such relief.

         There being no just reason for delay in its entry, this is a final Order.

         The Court further certifies that an appeal of this action would not be taken in good faith.

See 28 U.S.C. § 1915(a)(3).

Date:    April 12, 2022




cc:     Plaintiff, pro se
        Defendants
4414.010
